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                                                        January 13, 2022

VIA ECF

Hon. Joanna Seybert, USDJ
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 117222

       Re:     Manzanarez v. Omni Recycling Of Babylon, Inc.
               2:21-cv-05164 (JS)(SLT)

Dear Judge Seybert:

        I represent the Plaintiff in the above referenced class and collective action. I write in
response to Defendants’ pre-motion letter regarding their anticipated motion to dismiss (1) all
FLSA claims which arose more than 2 years prior to the filing of the complaint, (2) the state claim
based upon the assertion that it presents a novel question of state law, and (3) the class action
allegations.

       Defendants’ anticipated motion is a premature attempt to limit the scope and legal
claims of the collective, who are not yet parties to this action. The FLSA explicitly states that
“[n]o employee shall be a party plaintiff to any such action unless he gives his consent in writing
to become such a party and such consent is filed in the court in which such action is brought.” 29
U.S.C.S. § 216(b).

       Defendants’ anticipated motion seeks to preemptively limit the scope of the FLSA
Collective for purposes of notice. As explained by one Court which authorized notice for a three-
year period:

       [T]he statute of limitations is of concern at this stage because the limitations period
       for potential plaintiffs is only tolled after they ‘opt-in’ to the case. If the Court were
       to later determine that Defendants acted willfully or recklessly, then those plaintiffs
       whose claims arose between two and three years prior to the opt-in deadline, could
       find that their claims are time-barred if they are not included in the initial notice
       and given an opportunity to opt-in to the action as promptly as possible.
       Accordingly, in the interest of reaching all similarly situated potential plaintiffs, the
       notice should extend to those employed up to three years[.]

Vaicaitiene v. Partners in Care, Inc., No. 04 Civ. 9125 (RMB) (THK), 2005 U.S. Dist. LEXIS
13490, at *22-25 (S.D.N.Y. July 6, 2005) (citations omitted). This is inconsistent with the “broad


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remedial purpose of the Act, which should be given a liberal construction.” Braunstein v. E.
Photographic Lab’ys, Inc., 600 F.2d 335, 336 (2d Cir. 1978).

         Defendants’ anticipated motion based upon the statute of limitations will resolve none of
the claims asserted in this case. In Whiteside v. Hover-Davis, Inc., 995 F.3d 315 (2d Cir. 2021) the
district court’s decision regarding the affirmative defense of the statute of limitations resolved the
case in its entirety. In other words, all of the Plaintiff’s FLSA claims were more than two years
old. Whiteside v. Hover-Davis, Inc., No. 19-CV-6026 CJS, 2020 U.S. Dist. LEXIS 34740, at *11
(W.D.N.Y. Feb. 28, 2020). This case stands in stark contrast to Whiteside because the Defendants
acknowledge that the FLSA claims are timely even if a 2 year statute of limitations is applied.

        Moreover, to the extent the Defendant is asking the Court to limit the statute of limitations
for the collective action members, it is asking the Court to adjudicate the rights of individuals who
are not yet parties to this action and have not even received notice. Whiteside did not involve a
collective action. The application of Whiteside to absent parties implicates serious due process
concerns and raises jurisdictional issues, because the legal rights of the absent collective action
members (non-parties) who decide to join may be preemptively limited before they even have an
opportunity to be heard.

        Although Defendants have raised a creative argument, they have not raised a bona-
fide issue, much less a “novel issue of state law.” As originally enacted in 1937, the Minimum
Wage Act did not itself establish a minimum wage. Instead, it authorized the Commissioner of
Labor—then called the Industrial Commissioner— to set minimum wages by issuing “wage
orders.” See Ch. 276, §§ 555-557, 1937 N.Y. Laws 779, 781-83. Under that authority, the
Commissioner issued wage orders for occupations in ten industries. See N.Y.C.R.R. Official
Compilation, Thirteenth Official Supp. (1961) (wage orders in effect prior to 1959).

        In 1960, the Legislature significantly revised the Minimum Wage Act (the “Act”) to
establish a statewide hourly minimum wage for “every occupation.” See Ch. 619, § 2, 1960 N.Y.
Laws 1858, 1860. The revised law provided that every employer must pay employees in every
covered occupation a minimum wage of “one dollar an hour.” Id. This provision was amended to
its current form in 1978 to require payment of a minimum wage for “each hour worked.” Ch. 747,
§ 1, 1978 N.Y. Laws 1, 1.

        The Act retained the Commissioner’s broad authority to set wage standards for specific
occupations through wage orders. See Ch. 619, § 2, 1960 N.Y. Laws at 1860 Pursuant to that
authority, the Commissioner in 1960 adopted the Minimum Wage Order No. 11 for Miscellaneous
Industries and Occupations (“Wage Order”), which is codified at 12 N.Y.C.R.R. part 142.

         The Minimum Wage Order for Miscellaneous Industries and Occupations (which contains
the spread of hours provision), is issued in order to interpret and enforce the provisions of Article
19, of the New York Labor Law (“The Minimum Wage Act”), and pursuant to the Commissioner’s
authority to set minimum wage standards under Article 19. The definition of wages in Article 19
is as follows:




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       “Wage” includes allowances, in the amount determined in accordance with the
       provisions of this article, for gratuities and, when furnished by the employer to
       employees, for meals, lodging, apparel, and other such items, services and facilities.

NYLL § 651(7). This is the definition of wages applicable to actions under Article 19 and its
implementing regulations. See NYLL § 651(limiting the application of the definition of “wages”
to article 19).

        Not satisfied with this statutory definition of “wages”, the Defendants seeks to borrow the
definition of “wages” from an entirely different Article of the New York Labor Law – Article 6,
“Payment of Wages.” The definition of “Wages” under Article 6 is as follows:

       “Wages” means the earnings of an employee for labor or services rendered,
       regardless of whether the amount of earnings is determined on a time, piece,
       commission or other basis. The term “wages” also includes benefits or wage
       supplements as defined in section one hundred ninety-eight-c of this article, except
       for the purposes of sections one hundred ninety-one and one hundred ninety-two of
       this article.

NYLL § 190(1). However, the Defendants ignore the Plain language of NYLL § 190, which limits
the application of NYLL § 190 to actions under Article 6 (“As used in this article…’wages’
means…”).

        Defendants’ Motion to Dismiss the Class Action Allegations is Without Merit and
Premature. Defendants inadvertently concede a common policy, and a common defense to the
class claims, in their request for a pre-motion conference. See ECF No. 15, at 2 (“Defendants will
assert…that this case involves union members, and that the value of benefits and wage
supplements Plaintiff and others received as union members, should be added to the employees’
cash was for the purpose of determining whether Defendants’ spread of hours obligations have
been satisfied.”) Putting that aside,

       dismissing class allegations on a motion to dismiss would preempt the opportunity
       for discovery which is better suited for development of Plaintiff’s claims, which is
       disfavored, since “[a]s a practical matter, the court’s [certification decision] usually
       should be predicated on more information than the complaint itself affords.” Myers
       v. MedQuist, Inc., No. 05-4608, 2006 U.S. Dist. LEXIS 91904, 2006 WL 3751210,
       at *4-5 (D.N.J. 2006) (citing 5C Wright, Miller & Kane, Federal Practice &
       Procedure Civil 3d § 1785.3). Dismissal of class allegations at the pleading stage
       should be done rarely as “the better course is to deny such a motion because the
       shape and form of a class action evolves only through the process of discovery.”
       2006 U.S. Dist. LEXIS 91904, [WL] at *4 (internal citations omitted) (deferring
       decision on class certification until “after Plaintiffs are given the opportunity to
       conduct discovery on class action status”); In re Wal-Mart Stores, Inc. Wage and
       Hour Litigation, 505 F. Supp. 2d 609, 614-15 (N.D. Cal. 2007); see also Abdallah
       v. Coca-Cola Co., No. Civ.A. 1:98CV3679-RW, 1999 U.S. Dist. LEXIS 23211,
       1999 WL 527835 (N.D. Ga. July 16, 1999) (dismissal of class allegations prior to
       discovery premature).
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Blagman v. Apple Inc., 2013 U.S. Dist. LEXIS 71280, at *19 (S.D.N.Y. May 20, 2013)

        Conclusion. For the foregoing reasons, we believe that the Defendants’ motion may violate
the due process rights of non-parties and will result in unnecessary delay and needless consumption
of judicial resources.

                                                     Respectfully submitted,

                                                     Steven J. Moser
                                                     Steven J. Moser


cc: All Counsel of Record (VIA ECF)




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